
DOUCET, Judge.
This is a companion case to the matter entitled “Allen Gauthier v. Bogard Seed Company”, Number 7233 on the Docket of this Court, 377 So.2d 1290.
For the reasons assigned therein, the judgment in favor of plaintiff, Sam Hewlett, and against defendant, Bogard Seed Company, in the amount of ONE THOUSAND FIFTY AND NO/100 ($1,050.00) DOLLARS, is reversed and set aside.
It is ordered, adjudged and decreed that there be judgment herein in favor of defendant, Bogard Seed Company, dismissing plaintiff’s suit at his cost. All costs of this appeal are assessed against plaintiff, Sam Hewlett.
REVERSED AND RENDERED.
